Case 8:17-cv-01480-JDW-SPF Document 74 Filed 10/11/18 Page 1 of 1 PageID 1269



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                          CLERK’S MINUTES - CIVIL GENERAL
44444444444444444444444444444444444444444444444444444444444444
CASE NO. 8:17-cv-1480-T-27SPF                           DATE: October 11, 2018

Honorable SEAN P. FLYNN
CARRIE L. SHULMAN
-v-

BAYCARE MEDICAL GROUP, INC.
44444444444444444444444444444444444444444444444444444444444444
Interpreter: N/A                                     Court Reporter: N/A
Time: 10:02-10:20; 10:32-10:36 (Total time: 22 min.)
Deputy Clerk: Dawn M. Saucier
Tape: Digital                                        Courtroom 11B
44444444444444444444444444444444444444444444444444444444444444
Attorney for Plaintiff:                                 David Shankman

Attorneys for Defendant:                                Thomas Gonzalez, Sacha Dyson
44444444444444444444444444444444444444444444444444444444444444
PROCEEDING: Plaintiff’s Motion to Dismiss Without Prejudice (Doc. 45); Defendant’s
Response to Plaintiff’s Motion to Dismiss Without Prejudice (Doc. 46); Defendant’s
(Opposed) Motion to Quash Subpoena (Doc. 58); Plaintiff’s Opposition to Defendant’s
Motion to Quash Subpoena (Doc. 59); Plaintiff’s Renewed Motion to Compel Responses to
Plaintiff’s First Set of Written Discovery and Supporting Memorandum of Law (Doc. 66);
Defendant’s Response in Opposition to Plaintiff’s Renewed Motion to Compel Responses
to Plaintiff’s First Set of Written Discovery and Supporting Memorandum of Law (Doc. 71);
Joint Motion to Extend the Discovery and Related Post-Discovery Deadlines (Doc. 69)

Court convened.

Oral argument of the parties.

Plaintiff’s motions to dismiss to be taken under consideration. Remaining motions to be held
in abeyance pending ruling on motion to dismiss.

Report and recommendation to be entered.

Court adjourned.
